                                    Case: 1:23-cv-01470-CEF Doc #: 1-8 Filed: 07/27/23 1 of 5. PageID #: 75
                                                                   English

                                   (/en)



Registration data lookup tool
Enter a domain name or an Internet number resource (IP Network or              Frequently Asked Questions (FAQ)
ASN)                                                                                                   (/en/faq)

 gograymatter.com                                                                                                    Lookup

By submitting any personal data, I acknowledge and agree that the personal data submitted by me will be
processed in accordance with the ICANN Privacy Policy (https://www.icann.org/privacy/policy), and agree to abide
by the website Terms of Service (https://www.icann.org/privacy/tos) and the registration data lookup tool Terms of
Use (unsafe:javascript:void(0)).




 Domain Information

  Name: GOGRAYMATTER.COM

  Registry Domain ID: 2762783231_DOMAIN_COM-VRSN

  Domain Status:
  clientDeleteProhibited (https://icann.org/epp#clientDeleteProhibited)
  clientRenewProhibited (https://icann.org/epp#clientRenewProhibited)
  clientTransferProhibited (https://icann.org/epp#clientTransferProhibited)
  clientUpdateProhibited (https://icann.org/epp#clientUpdateProhibited)

  Nameservers:
  NS63.DOMAINCONTROL.COM
  NS64.DOMAINCONTROL.COM


  Dates
                             Case:
Registry Expiration: 2028-03-05     1:23-cv-01470-CEF
                                00:50:29 UTC          Doc #: 1-8 Filed: 07/27/23 2 of 5. PageID #: 76

Updated: 2023-06-07 11:51:38 UTC

Created: 2023-03-05 00:50:29 UTC


Contact Information



  Registrant:
  Handle: 1

  Name: Registration Private

  Organization: Domains By Proxy, LLC

  Kind: individual

  Mailing Address: DomainsByProxy.com 2155 E Warner Rd, Tempe, Arizona, 85284, US

  Contact Uri: https://www.godaddy.com/whois/results.aspx?domain=gograymatter.com (https://www.godaddy.com/whois/results.aspx?domain=g
  ograymatter.com)




  Administrative:
  Handle: 2

  Name: Registration Private

  Organization: Domains By Proxy, LLC

  Kind: individual

  Mailing Address: DomainsByProxy.com 2155 E Warner Rd, Tempe, Arizona, 85284, US

  Contact Uri: https://www.godaddy.com/whois/results.aspx?domain=gograymatter.com (https://www.godaddy.com/whois/results.aspx?domain=g
  ograymatter.com)
                               Case: 1:23-cv-01470-CEF Doc #: 1-8 Filed: 07/27/23 3 of 5. PageID #: 77
  Technical:
  Handle: 3

  Name: Registration Private

  Organization: Domains By Proxy, LLC

  Kind: individual

  Mailing Address: DomainsByProxy.com 2155 E Warner Rd, Tempe, Arizona, 85284, US

  Contact Uri: https://www.godaddy.com/whois/results.aspx?domain=gograymatter.com (https://www.godaddy.com/whois/results.aspx?domain=g
  ograymatter.com)




  Billing:
  Handle: 4

  Name: Registration Private

  Organization: Domains By Proxy, LLC

  Kind: individual

  Mailing Address: DomainsByProxy.com 2155 E Warner Rd, Tempe, Arizona, 85284, US

  Contact Uri: https://www.godaddy.com/whois/results.aspx?domain=gograymatter.com (https://www.godaddy.com/whois/results.aspx?domain=g
  ograymatter.com)




Registrar Information

Name: GoDaddy.com, LLC

IANA ID: 146

Abuse contact phone: tel:480-624-2505
                                Case: 1:23-cv-01470-CEF Doc #: 1-8 Filed: 07/27/23 4 of 5. PageID #: 78
DNSSEC Information

Delegation Signed: Unsigned




Authoritative Servers

Registry Server URL: https://rdap.verisign.com/com/v1/domain/gograymatter.com (https://rdap.verisign.com/com/v1/domain/gograymatter.com)

Last updated from Registry RDAP DB: 2023-07-24 09:10:16 UTC

Registrar Server URL: https://rdap.godaddy.com/v1/domain/GOGRAYMATTER.COM (https://rdap.godaddy.com/v1/domain/GOGRAYMATTER.CO
M)

Last updated from Registrar RDAP DB: 2023-07-24 09:10:36 UTC




Notices and Remarks

Notices:
Status Codes

For more information on Whois status codes, please visit https://www.icann.org/epp
https://icann.org/epp (https://icann.org/epp)

RDDS Inaccuracy Complaint Form
URL of the ICANN RDDS Inaccuracy Complaint Form: https://www.icann.org/wicf
https://www.icann.org/wicf (https://www.icann.org/wicf)

Terms of Use
                                         Case: 1:23-cv-01470-CEF Doc #: 1-8 Filed: 07/27/23 5 of 5. PageID #: 79
     By submitting an inquiry, you agree to these Universal Terms of Service
     and limitations of warranty. In particular, you agree not to use this
     data to allow, enable, or otherwise make possible, dissemination or
     collection of this data, in part or in its entirety, for any purpose,
     such as the transmission of unsolicited advertising and solicitations of
     any kind, including spam. You further agree not to use this data to enable
     high volume, automated or robotic electronic processes designed to collect
     or compile this data for any purpose, including mining this data for your
     own personal or commercial purposes, or use this data in any way that violates
     applicable laws and regulations.
     https://www.godaddy.com/agreements/showdoc?pageid=5403 (https://www.godaddy.com/agreements/showdoc?pageid=5403)



                                                                                                                                                                
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